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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS

  BENARD MCKINLEY, #R-30033,                   )
                                               )
                 Plaintiff,                    )
                                               )
         -vs-                                  )       No. 16-cv-00661-MJR-SCW
                                               )
  MICHAEL ATCHISON, et al.,                    )
                                               )
                 Defendants.                   )

                         DEFENDANT LAWRENCE’S RESPONSES TO
                          PLAINTIFF’S REQUEST FOR ADMISSIONS

         The Defendant, FRANK LAWRENCE, by and through his attorney, LISA MADIGAN,

  Attorney General of the State of Illinois, provides the following responses to Plaintiff’s requests

  for admissions [d/e 155] pursuant to Federal Rule 36:

         1. I Frank Lawrence as Assistance Warden of Programs, and member of Menard
  Administrative Detention Committee admit I did periodically tour North two annex building as a
  routine matter between October 25, 2012, and October 2015 to observe and address any issues
  with inmates, to the extent I was able to.

  ANSWER: Defendant denies periodically touring the North 2 Cellhouse to observe and
  address issues with inmates, or for any reason, between October 25, 2012 and October 2015,
  as he was not employed as the Assistant Warden of Programs during that time period and
  would not periodically tour the facility until he took that position.

         2.     I Frank Lawrence admit that when McKinley was initally placed in administrative
  dention at Menard Correctional Center on October 25, 2012 McKinley did not receive a notice of
  why he was being placed in the program.

  ANSWER: Defendant admits Plaintiff did not receive a notice of why he was placed in
  Administrative Detention prior to his placement on October 25, 2012.

          3.     I Frank Lawrence admit that Menard Correctional Center Internal Affairs and
  Intelligence officers has influence in whether or not a inmate is placed in the Administrative
  detention program.

  ANSWER: Defendant objects to the above request as vague and ambiguous as to the terms
  “influence” and “is placed” as the term may be used with specific meanings that are not
  expressed in the request. Subject to that objection, Defendant denies any involvement in
  inmates’ initial placement in Administrative Detention at any time, but admits Internal
  Affairs and Intelligence officers provide information to the Warden prior to an inmate’s
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  placement in Administrative Detention. Defendant further admits, that while not involved in
  Plaintiff’s initial placement in Administrative Detention and could not opine as to its basis,
  while present in the Administrative Detention Committee he would review information
  provided by the Internal Affairs or Intelligence Units while present. Defendant lacks
  knowledge or information sufficient to respond to any remaining assertions of the above
  request, having made reasonable inquiry and the information Defendant knows or can
  readily obtain is insufficient to enable him to admit or deny.

          4.   I Frank Lawrence admit that McKinley was not afforded due process protection
  before McKinley was placed in menard Administrative detention program on October 25, 2012.

  ANSWER: Defendant denies Plaintiff’s rights were violated by his placement in the
  Administrative Detention program. Defendant lacks knowledge or information sufficient to
  respond to any remaining assertions of the above request, having made reasonable inquiry
  and the information Defendant knows or can readily obtain is insufficient to enable him to
  admit or deny.

         5.     I Frank Lawrence admit I did not read McKinley letters he wrote in his defense to
  his placement, to the Administrative detention placement review committee members when
  McKinley’s continued placement was up for review between October 25, 2012 and October 2015.

  ANSWER: Defendant denies that he did not review Plaintiff’s statements submitted in
  advance of a review hearing to the Administrative Detention Review Committee during the
  pertinent meeting.

        6.      I Frank Lawrence Admit that when I tour Menard correctional center North two
  Annex building C-wing unit between October 25, 2012 and October 2015 that housed Menard
  Administrative detention inmates it is possible that McKinley complain to me that his cell did not
  have Hot water.

  ANSWER: Defendant denies periodically touring the North 2 Cellhouse to observe and
  address issues with inmates, or for any reason, between October 25, 2012 and October 2015,
  and denies any recollection of Plaintiff complaining to him.

        7.      I Frank Lawrence Admit that when I toured Menard Correctional Center north two
  Annex building C-wing unit between October 25, 2012 and October 2015 that housed Menard
  Administrative detention inmates it is possible that McKinley complain to me that his cell did not
  have Heat during the winter and spring seasons.

  ANSWER: Defendant denies periodically touring the North 2 Cellhouse to observe and
  address issues with inmates, or for any reason, between October 25, 2012 and October 2015,
  and denies any recollection of Plaintiff complaining to him.

         8.     I Frank Lawrence Admit that when I toured Menard Correctional Center north
  two Annex building C-wing unit between October 25, 2012 and October 2015 that housed Menard
  Administrative detention inmates it is possible that McKinley complain to me that his cell had
  mice in it.

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  ANSWER: Defendant denies periodically touring the North 2 Cellhouse to observe and
  address issues with inmates, or for any reason, between October 25, 2012 and October 2015,
  and denies any recollection of Plaintiff complaining to him.

         9.     I Frank Lawrence Admit that it is mandatory that all Menard Correctional Center
  employees abide by Illinois Department of Corrections Institutional Rules, Regulations, Policies,
  and protocols when dealing with inmates confined to that Institution.

  ANSWER: Defendant admits Menard Correctional Center staff are required to adhere to
  facility rules while interacting with inmates.

         10.    I Frank Lawrence Admit that the evidence that caused McKinley to be initially
  placed, and continually placed in Menard Correctional Center Administrative program from
  October 25, 2012 to October 2015 was not based on reliable or credible sources.

  ANSWER: Defendant denies the assertions of the above request.


                                                      Respectfully submitted,

                                                      FRANK LAWRENCE,

                                                             Defendant,

                                                      LISA MADIGAN, Attorney General,
  Max Boose, #6320334                                 State of Illinois
  Assistant Attorney General
  500 South Second Street                                    Attorney for Defendants,
  Springfield, Illinois 62701
  (217) 557-0261 Phone                                By: s/ Max Boose
  (217) 524-5091 Fax                                     MAX BOOSE
  Email: mboose@atg.state.il.us                          Assistant Attorney General




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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                EAST ST. LOUIS DIVISION

  BENARD MCKINLEY, #R-30033,                   )
                                               )
                 Plaintiff,                    )
                                               )
         -vs-                                  )       No. 16-cv-00661-MJR-SCW
                                               )
  MICHAEL ATCHISON, et al.,                    )
                                               )
                 Defendants.                   )

                                  CERTIFICATE OF SERVICE

          I hereby certify that on May 15, 2018, the foregoing Defendant Lawrence’s Responses to
  Plaintiff’s Request for Admissions was electronically filed with the Clerk of the Court using the
  CM/ECF system which will send notification of such filing to the following:

                                               NONE

  and I hereby certify that on the same date, I caused a copy of the foregoing document to be mailed
  by United States Postal Service, in an envelope properly addressed and fully prepaid, to the
  following non-registered participant:

                                     Benard McKinley, R30033
                                    Stateville Correctional Center
                                         Inmate Mail/Parcel
                                        Route 53, PO Box 112
                                           Joliet, IL 60434



                                                       Respectfully submitted,

                                                       s/ Max Boose
                                                       Max Boose, #6320334
                                                       Assistant Attorney General
                                                       General Law Bureau
                                                       Office of the Attorney General
                                                       500 South Second Street
                                                       Springfield, Illinois 62701
                                                       (217) 557-0261 Phone
                                                       (217) 524-5091 Fax



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